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                                                                Assigned To : Sharbaugh, Matthew J.
                                                                Assign. Date : 12/2/2024
                                                                Description: COMPLAINT W/ARREST WARRANT

                                   STATEMENT OF FACTS
        Your affiant,                , is an FBI Special Agent assigned to the FBI New York Field
Office. In my duties as a special agent, I am assigned to the Joint Terrorism Task Force. Among
other assigned duties, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.
        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies, or based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates, times, and time stamps listed in this Affidavit should be read as “on or about”.
        The United States Capitol Building is secured 24 hours a day by U.S. Capitol Police
(USCP). Restrictions around the U.S. Capitol Building include permanent and temporary security
barriers and posts manned by U.S. Capitol Police. Only authorized people with appropriate
identification were allowed access inside the U.S. Capitol. On January 6, 2021, the exterior plaza
of the U.S. Capitol was also closed to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol Building, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in the United States Capitol Building to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Michael Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol Building. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol Building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol Building and the proceedings underway inside.
       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol Building were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol Building, including
by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol Building from the time he was evacuated
from the Senate Chamber until the sessions resumed.

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      WENTLAND continued into the restricted perimeter to a walkway northwest of the
Northwest Stairs of the Capitol. At approximately 1:59 p.m., a line of Metropolitan Police Officers
(MPD) dressed in riot gear moved towards the Capitol to assist in its defense. As the MPD officers
walked by, WENTLAND engaged with multiple officers. At 1:59 p.m., as MPD Officer R.S. was
marching towards the Capitol, WENTLAND grabbed and touched him.




         Image 8: A still frame from Officer R.S.’s BWC moments after WENTLAND elbowed
              him. WENTLAND continues to push against Officer R.S.’s baton.
      WENTLAND continued engaging with this line of police officers. Two minutes later,
WENTLAND grabbed and touched MPD Officer A.A. Images 9 and 10 are still frames from
body-worn camera (BWC) footage depicting WENTLAND’s physical contact.




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impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
peifonnance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstrncts, delays, or adversely affects commerce or the movement of any
aiticle or commodity in commerce or the conduct or perfonnance of any federally protected
function. For pmposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action caiTied out, under the laws of the United States, by any depa1tment,
agency, or instrnmentality of the United States or by an officer or employee thereof. This includes
the Secret Service's protection of the Vice President and his family and the Capitol Police's
protection of the U.S. Capitol.
         Based on the foregoing, your affiant submits that there is probable cause to believe that
WENTLAND violated 18 U.S.C. § 1752(a)(l ) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrnpt the orderly conduct of Government business or
official functions, engage in disorderly or disrnptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrnpts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For pmposes of Section 1752 of Title 18, a "restricted building" includes a posted, cordoned off,
or othe1wise restricted area of a building or grounds where the President or other person protected
by the Secret Se1vice, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.
        Your affiant submits there is also probable cause to believe that WENTLAND violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disrnptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrnpt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a heai·ing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) pai·ade, demonstrate, or picket in any of the Capitol Buildings.




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                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of December 2024.
                                                                         Digitally signed by
                                                                         Matthew J. Sharbaugh
                                                                         Date: 2024.12.02
                                                                         10:41:49 -05'00'

                                                      HON. MATTHEW J. SHARBAUGH
                                                      U.S. MAGISTRATE JUDGE

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